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06
                              UNITED STATES DISTRICT COURT
07                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
08
     UNITED STATES OF AMERICA,            )
09                                        )
           Plaintiff,                     )
10                                        )            Case No. MJ09-62
           v.                             )
11                                        )
     MIGUEL A. BAEZ,                      )            DETENTION ORDER
12                                        )
           Defendant.                     )
13   ____________________________________ )

14 Offenses charged:

15          Count 3:       Possession of Methamphetamine with Intent to Distribute, in violation of
                           21 U.S.C. §§ 841 (a)(1), 841 (b)(1)(A), and 846
16
            Count 4:       Possession of Cocaine with Intent to Distribute, in violation of 21 U.S.C.
17                         §§ 841 (a)(1), 841 (b)(1)(B), and 846

18 Date of Detention Hearing:      February 25, 2009

19          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

20 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

21 the following:

22          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

23          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant

24 is a flight risk and a danger to the community based on the nature of the pending charges.

25 Application of the presumption is appropriate in this case.

26          (2)     Defendant faces a possible 15 year minimum sentence.

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01          (3)     Defendant has substantial family contacts in Mexico.

02          (4)     Defendant has business interests in Mexico.

03          (5)     When arrested, a handgun was found in defendant’s bed stand.

04          (6)     Defendant has no ties to this jurisdiction.

05          (7)     Defendant is unemployed.

06          (8)     There are no conditions or combination of conditions other than detention that

07 will reasonably assure the appearance of defendant as required or ensure the safety of the

08 community.

09          IT IS THEREFORE ORDERED:

10          (1)     Defendant shall be detained pending trial and committed to the custody of the

11 Attorney General for confinement in a correctional facility separate, to the extent practicable,

12 from persons awaiting or serving sentences or being held in custody pending appeal;

13          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

14 counsel;

15          (3)     On order of a court of the United States or on request of an attorney for the

16 government, the person in charge of the corrections facility in which defendant is confined shall

17 deliver the defendant to a United States Marshal for the purpose of an appearance in connection

18 with a court proceeding; and

19          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

20 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

21 Officer.

22                  DATED this 25th day of February, 2009.

23

24
                                                           A
                                                           JAMES P. DONOHUE
                                                           United States Magistrate Judge
25

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     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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